                     Case 1:17-cv-00124-LLS Document 253 Filed 06/16/22 Page 1 of 2

                                               United States of America
                                      FEDERAL TRADE COMMISSION
                                              Washington, DC 20580



     Annette Soberats
Division of Advertising Practices
202-326-2921; asoberats@ftc.gov


                                                              June 16, 2022

        VIA ECF
        Hon. Louis L. Stanton, U.S.D.J.
        United States District Court
        Southern District of New York
        500 Pearl Street
        New York, NY 10007

        RE:        FTC, et al. v. Quincy Bioscience Holding Co., Inc., et al. (17-CV-00124-LLS)

        Dear Judge Stanton:

                Plaintiffs the Federal Trade Commission and the People of the State of New York by
        Letitia James, Attorney General of the State of New York (“Plaintiffs”), respectfully request that
        the Court temporarily maintain portions of the papers filed in support of Plaintiffs’ Opposition to
        Defendants’ Motion for Summary Judgment [Dkt. No. 227], to be filed contemporaneously
        herewith (“Opposition”), under seal. Defendants designated portions of these documents as
        “Confidential” under the Protective Order in this matter. (Stipulated Protective Order Governing
        Confidential & Sensitive Personal Information (Feb. 11, 2020) [Dkt. No. 95].) The parties have
        conferred regarding the propriety of Defendants’ confidentiality designations pursuant to Part IV of
        the Protective Order, but that process is not yet complete.

                During negotiations over confidentiality designations, Defendants represented that certain
        portions of the following documents contain confidential information related to scientific
        research, financial, or marketing information. Although Plaintiffs do not believe that the
        following documents should be designated as confidential, or that, even if confidential, sealing is
        warranted, Plaintiffs request that the documents be temporarily sealed until the parties conclude
        the meet and confer process. Plaintiffs would seek to have these documents unsealed for public
        view if no disputes remain after the meet and confer process is complete.

                 The documents in question are (a) exhibits to the Declaration of Annette Soberats in
        Support of Plaintiffs’ Opposition, to be filed contemporaneously herewith; (b) Plaintiffs’
        Opposition; and (c) Plaintiffs’ Response to Defendants’ Rule 56.1 Statement and Plaintiffs’
        Statement of Additional Material Facts in Dispute, to be filed contemporaneously herewith. The
        latter two documents have been redacted to remove information that was derived from exhibits to
        the Soberats Declaration, portions of which were designated “Confidential.” With respect to the
        Soberats Declaration, Plaintiffs propose to temporarily seal Exhibit E in its entirety and portions
        of Exhibits A, C, F, G, I, J, K, and L because those portions have been marked “Confidential” by
        Defendants.
         Case 1:17-cv-00124-LLS Document 253 Filed 06/16/22 Page 2 of 2

The Honorable Louis L. Stanton                                 June 16, 2022
Page 2

                                          Respectfully,

                                          /s/ Annette Soberats
                                          Annette Soberats
                                          Federal Trade Commission

                                          /s/ Kate Matuschak
                                          Kate Matuschak
                                          New York State Office of the
                                          Attorney General

cc: All parties via ECF
